
650 S.E.2d 598 (2007)
Billy R. BRITT
v.
MAY DAVIS GROUP, INC. and Michael Jacobs.
No. 164P07.
Supreme Court of North Carolina.
August 23, 2007.
Michael W. Patrick, Chapel Hill, for May Davis Group &amp; Jacobs.
J. William Blue, Jr., Chapel Hill, for Britt.


*599 ORDER

Upon consideration of the petition filed on the 9th day of April 2007 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
